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 Attorney or Party Name, Address, Telephone & FAX                          FOR COURT USE ONLY
 Nos., State Bar No. & Email Address

LEONARD PEÑA (State Bar No. 192898)
lpena@penalaw.com
PEÑA & SOMA, APC
402 South Marengo Ave., Suite B
Pasadena, California 91101
Telephone (626) 396-4000
Facsimile (626) 498-8875




    Individual appearing without attorney

 x Attorney for: Plaintiff

                                        UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA LOS ANGELES DIVISION
 In re:                                                                    CASE NO.:            2: 21-bk-13523 ER

 URBAN COMMONS, LLC                                                        ADVERSARY NO.:            2:23-ap-01302-ER

                                                                           CHAPTER:         7

                                                            Debtor(s).

                                                                                                JOINT STATUS REPORT
 CAROLYN A. DYE, Chapter 7 Trustee                                                                 [LBR 7016-1(a)(2)]
                                                                           DATE:     August 22, 2023
                                                           Plaintiff(s).   TIME:     10:00 a.m.
                                                                           COURTROOM: 1568
                                  vs.
                                                                           ADDRESS: 255 E. Temple Street, Los Angeles, CA 90012


FWREF NASHVILLE AIRPORT, LLC, a Delaware limited
liability company

                                                        Defendant(s).




          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.



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The parties submit the following JOINT STATUS REPORT in accordance with LBR 7016-1(a)(2):

A. PLEADINGS/SERVICE:
  1.         Have all parties been served with the complaint/counterclaim/cross-claim, etc. ☒Yes ☐No (Claims
             Documents)?

  2.         Have all parties filed and served answers to the Claims Documents?                                  ☐Yes ☒No

  3.         Have all motions addressed to the Claims Documents been resolved?                                   ☐Yes ☒No

  4.         Have counsel met and conferred in compliance with LBR 7026-1?                                       ☒Yes ☐No


  5.         If your answer to any of the four preceding questions is anything other than an unqualified “YES,” please
             explain below (or on attached page):
             The Parties stipulated that the Defendant’s responsive pleading is due on or before August 25, 2023.
B. READINESS FOR TRIAL:

  1.        When will you be ready for trial in this case?
                                 Plaintiff                                                          Defendant
           August 2024                                                                       August 2024


  2.     If your answer to the above is more than 4 months after the summons issued in this case, give reasons for further
  delay.
                                  Plaintiff                                     Defendant

 The Plaintiff is prosecuting approximately 118 related
 adversary cases and the Plaintiff anticipates having most
 of them resolved through settlement, dismissal or other
 dispositive motions and then only those matters that
 cannot be settled will remain.


       3. When do you expect to complete your discovery efforts?
                                 Plaintiff                                                             Defendant

               1/31/2024                                                                               4/30/2024


     4. What additional discovery do you require to prepare for trial?
                                 Plaintiff                                         Defendant
 Interrogatories, requests for admissions, depositions, Requests Interrogatories, requests for admissions, document
 for documents and third party subpoenas                            requests, depositions, extensive third party document
                                                                    and deposition discovery, as this case involves
                                                                    allegations concerning several entities and
                                                                    individuals related to the debtor


C. TRIAL TIME:

       1. What is your estimate of the time required to present your side of the case at trial (including rebuttal stage if
          applicable)?

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                                       Plaintiff                                                     Defendant
         1 Day                                                                             2 days



     2. How many witnesses do you intend to call at trial (including opposing parties)?
                             Plaintiff                                            Defendant

              2-3                                                                                    6-10


     3. How many exhibits do you anticipate using at trial?
                              Plaintiff                                                          Defendant
           Unknown at this time                                                 Too early to estimate prior to the conclusion of discovery



D. PRETRIAL CONFERENCE:

     A pretrial conference is usually conducted between a week to a month before trial, at which time a pretrial order will
     be signed by the court. [See LBR 7016-1.] If you believe that a pre-trial conference is not necessary or appropriate in
     this case, please so note below, stating your reasons:

                                Plaintiff                                                                 Defendant
     Pretrial conference ☒ is ☐               is not requested             Pretrial conference ☒ is ☐                is not requested
       Reasons:                                                              Reasons:




                              Plaintiff                                                               Defendant
      Pretrial conference should be set after:                                 Pretrial conference should be set after:
(date)   July 2024                                                             (date)             July 2024


E.    SETTLEMENT:

     1. What is the status of settlement efforts?

         Parties are discussed some general settlement parameters during their Meet and Confer.




     2. Has this dispute been formally mediated?                      ☐ Yes ☒ No
        If so, when?


     3. Do you want this matter sent to mediation at this time?

                                  Plaintiff                                                               Defendant

                             ☐ Yes            ☒ No                                                    ☐ Yes         ☒ No

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F.   FINAL JUDGMENT/ORDER:

     Any party who contests the bankruptcy court’s authority to enter a final judgment and/or order in this adversary
     proceeding must raise its objection below. Failure to select either box below may be deemed consent.

                                Plaintiff                                                                 Defendant
      ☒ I do consent                                                            ☐I do consent
      ☐ I do not consent                                                         ☒ I do not consent
      to the bankruptcy court’s entry of a final judgment                      to the bankruptcy court’s entry of a final judgment
      and/or order in this adversary proceeding.                               and/or order in this adversary proceeding.


G.   ADDITIONAL COMMENTS/RECOMMENDATIONS RE TRIAL: (Use additional page if necessary)




Respectfully submitted,

Date: 8/7/23                                                                    Date: August 7, 2023

PEÑA & SOMA, APC________________________                                        PACHULSKI, STANG, ZIEHL & JONES LLP
Printed name of law firm                                                        Printed name of law firm


__________________________________________                                      ___________________________________________
Signature                                                                       Signature

LEONARD PEÑA ___________________________                                        __ANDREW W. CAINE
                                                                                                _______________________
Printed name                                                                    Printed name

Attorney for: _Plaintiff________________________                                Attorney for: Defendant________________




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                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
402 South Marengo Ave., Suite B, Pasadena, California 91101


A true and correct copy of the foregoing document entitled: JOINT STATUS REPORT [LBR 7016-1(a)(2)] will be served
or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
        8/7/23
(date)___          , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
Leonard Peña lpena@penalaw.com for Plaintiff Carolyn A. Dye




                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 8/7/23    , I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.
Hon. Ernest M. Robles
United States Bankruptcy Court
255 E. Temple Street, Suite 1560
Los Angeles, CA 90012




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)               , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 8/7/23                         NOEMI SANDOVAL                                                     /S/ NOEMI SANDOVAL
Date                           Printed Name                                                    Signature

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